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                              PD
                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


      DENNIS M. SHARPE
      337 MCKEAN STREET
      PHILADELPHIA, PA 19148                                 18       98S'
              AND
      MARY ANN SHARPE
      337 '.\1CKEAN STREET
      PHILADELPHIA, PA 19148
              Ai~D                                   JURY TRIAL DEMANDED
      DENNIS W. SHARPE
      337 MCKEAN STREET
      PHILADELPHIA, PA 19148

           V.

      POLICE OFFICER MICHAELE. SPICER                  NO.
      BADGE NU'.\1BER 5180
      1515 ARCH STREET, 15TH FL.
      PHILADELPHIA, PA. 19102
            AND
      POLICE OFFICER THOMAS LICIARDELLO
      1515 ARCH STREET, 15TH FL.
      PHILADELPIDA, PA.19102
            AND
      POLICE OFFICER BRIAN REYNOLDS
      1515 ARCH STREET, 15™ FL.
      PHILADELPHIA, PA. 19102
            AND
      POLICE OFFICER LINWOOD NORMAN
      1515 ARCH STREET, 15m FL.
      PHILADELPHIA, PA.19102
            AND
      POLICE OFFICER JOHN SPEISER
      1515 ARCH STREET, 15TH FL.
      PHILADELPHIA, PA. 19102
            AND
      POLICE OFFICER PERRY BETTS
      1515 ARCH STREET, 15TH FL.
      PHILADELPHIA, PA. 19102
            AND
      POLICE OFFICERS JOHN DOE #1-5
      1515 ARCH STREET, 15TH FL.
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     PHILADELPHIA, PA 19102
           AND
     THE CITY OF PHILADELPHIA
     1515 ARCH STREET
     PHILADELPHIA, PA 19146
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                            COMPLAINT - CIVIL ACTION


1. Plaintiff, Dennis M. Sharpe, is an adult citizen, resident of the Commonwealth of

   Pennsylvania and father of Dennis W. Sharpe, residing as captioned.

2. Plaintiff, Maryann Sharpe, is an adult citizen, resident of the Commonwealth of

   Pennsylvania and Mother of Dennis. W. Sharpe residing as captioned.

3. Plaintiff, Dennis W. Sharpe, is an adult citizen, resident of the Commonwealth of

   Pennsylvania and son of Dennis M. Sharpe and Maryann Sharpe, residing as captioned.

4. Defendant, Police Officer Spicer, was at all material times a police officer with the City of

   Philadelphia Police Department.

5. Defendant, Police Officer Liciardello, was at all material times a police officer with the City

   of Philadelphia Police Department.

6. Defendant, Police Officer Reynolds, was at all material times a police officer with the City

   of Philadelphia Police Department.

7. Defendant, Police Officer Norman, was at all material times a police officer with the City of

   Philadelphia Police Department.

8. Defendant, Police Officer Speiser, was at all material times a police officer with the City of

   Philadelphia Police Department.

9. Defendant, Police Officer Betts, was at all material times a police officer with the City of

   Philadelphia Police Department.

10. Defendants, Police Officers John Doe #1-5, were at all material times police officers with

   the City of Philadelphia Police Department.
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11. Defendant, City of Philadelphia, is a municipality, organized and existing under the laws

   of the Commonwealth of Pennsylvania, with a main office and/or principal place of

   business located as captioned.

12. At all material times, the Defendant, Police Officer Spicer, was employed as a police officer

   by the City of Philadelphia Police Department and was acting within the course and scope of

   his employment, under the color of state law and pursuant to the policies, practices and/or

   customs of the City of Philadelphia Police Department.

13. At all material times, the Defendant, Police Officer Liciardello, was employed as a police

   officer by the City of Philadelphia Police Department and was acting within the course and

   scope of his employment, under the color of state law and pursuant to the policies, practices

   and/or customs of the City of Philadelphia Police Department.

14. At all material times, the Defendant, Police Officer Reynolds, was employed as a police

   officer by the City of Philadelphia Police Department and was acting within the course and

   scope of his employment, under the color of state law and pursuant to the policies, practices

   and/or customs of the City of Philadelphia Police Department.

15. At all material times, the Defendant, Police Officer Norman, was employed as a police

   officer by the City of Philadelphia Police Department and was acting within the course and

   scope of his employment, under the color of state law and pursuant to the policies, practices

   and/or customs of the City of Philadelphia Police Department.

16. At all material times, the Defendant, Police Officer Speiser, was employed as a police

   officer by the City of Philadelphia Police Department and was acting within the course and

   scope of his employment, under the color of state law and pursuant to the policies, practices

   and/or customs of the City of Philadelphia Police Department.
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17. At all material times, the Defendant, Police Officer Betts, was employed as a police officer

   by the City of Philadelphia Police Department and was acting within the course and scope of

   his employment, under the color of state law and pursuant to the policies, practices and/or

   customs of the City of Philadelphia Police Department.

18. At all material times, the Defendants, Police Officers John Doe #1-5, were employed as

   police officers by the City of Philadelphia Police Department and were acting within the

   course and scope of their employment, under the color of state law and pursuant to the

   policies, practices and/or customs of the City of Philadelphia Police Department.

19. The court has jurisdiction over the Federal Law Claims pursuant to 28 U.S.C. § 1331 and

   § 1343 and jurisdiction over the State Law Claims, pursuant to the principals of pendant and

   ancillary jurisdiction.

20. Venue is proper under 28 U.S.C. §139l(b) because the cause of action upon which the

   complaint is based arose in Philadelphia County, Pennsylvania, which is in the Eastern

   District of Pennsylvania.

21. On March 27, 2008 Police Officer Spicer, Police Officer Liciardello, Police Officer

   Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts and/or Police

   Officers John Doe #1-5 pushed themselves into the Plaintiffs home at 337 McKean Street,

   in Philadelphia, PA.

22. When asked for a warrant, the Defendants, Police Officer Spicer, Police Officer Liciardello,

   Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts

   and/or Police Officers John Doe #1-5, ignored the request and instead went upstairs to the

   Plaintiff, Dennis W. Sharpe's, room.
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23. The Defendants, Police Officer Spicer, Police Officer Liciardello, Police Officer Reynolds,

      Police Officer Norman, Police Officer Speiser, Police Officer Betts and/or Police Officers

      John Doe #1-5, threatened the Plaintiff by telling him ifhe didn't cooperate, they would take

      his parent's home.

24. On March 27, 2008 the Defendants, Police Officer Spicer, Police Officer Liciardello,

      Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts

      and/or Police Officers John Doe #1-5, arrested the Plaintiff, Dennis W. Sharpe, after

      searching his room, and initiated criminal proceedings against him.

25. The Plaintiff, Maryann Sharpe, again requested a warrant. The Defendant, Police Officer

      Spicer, placed a folded piece of paper on the table, representing it to be the warrant.

26. After the Defendant police officers left with the Plaintiff, Dennis W. Sharpe, in hand

      cuffs, the Plaintiff, Maryann Sharpe, looked at the piece of paper and found out that it

      was a blank piece of paper, not a warrant to enter or search her home.

27. The Plaintiff, Dennis W. Sharpe, was charged with manufacturing, delivering, possession

      with intent to manufacture or deliver, criminal use of communication facility and

      intentional possession of a controlled substance.

28. The Plaintiff was innocent of all charges and the Defendants lacked probable cause to

      arrest and prosecute the Plaintiff.

29. On March 10, 2017, the Philadelphia District Attorney's Office and Judge Sheila Woods-

      Skipper determined that the Plaintiffs conviction was improper. As a result, the

      Plaintiffs conviction was re-opened, and all charges were dismissed.
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30. As a direct and proximate result of the above, the Plaintiff, Dennis W. Sharpe, suffered

   injuries, including but not limited to wrongful detention and supervision and a significant

   depravation ofliberty.

31. As a direct and proximate result of the above, the Plaintiffs Dennis M. Sharpe and Maryann

   Sharp, suffered damages including but not limited to forfeiture proceedings of their home.

                            COUNTI
                   MALICIOUS PROSECUTION
    DENNIS W. SHARPE V. POLICE OFFICER SPICER, POLICE OFFICER
 LICIARDELLO, POLICE OFFICER REYNOLDS, POLICE OFFICER NORMAN,
POLICE OFFICER SPEISER, POLICE OFFICER BETTS AND POLICE OFFICERS
                          JOHN DOE #1-5


32. All preceding paragraphs of this Complaint are fully incorporated by reference.

33. As described above, the Defendants, Police Officer Spicer, Police Officer Liciardello,

   Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts

   and/or Police Officers John Doe #l-5, caused the Plaintiff to be subjected to criminal

   proceedings intentionally, maliciously and without probable cause.

34. On March 10, 2017 the court granted Commonwealth's motion to Nolle Prosequi the

   charges after the sentence was vacated and a new trial ordered. Therefore, all criminal

   proceedings were terminated in the Plaintiffs favor.

35. As a direct and proximate result of the malicious and intentional actions of Defendants, the

   Plaintiff, Dennis W. Sharpe, suffered damages as described above.

36. The above-described actions of Defendants were so malicious and intentional and displayed

   such a reckless indifference to the Plaintiffs rights and wellbeing that the imposition of

   punitive damages is warranted.
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       WHEREFORE, Plaintiff, Dennis W. Sharpe, demands compensatory and punitive

damages against Defendants, Police Officer Spicer, Police Officer Liciardello, Police Officer

Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts and/or Police

Officers John Doe # 1-5, jointly and/or severally, for the malicious prosecution, in an amount to

fairly and adequately compensate the Plaintiffs and punish and deter such conduct on the part of

the Defendants, in addition to interest, costs, attorney's fees and delay damages.



                        COUNT II - 42 U.S.C. § 1983
                            IV AMENDMENT
                        ILLEGAL ENTRY/SEARCH
  DENNIS M. SHARPE, MARY ANN SHARPE A~D DENNIS W. SHARPE vs. POLICE
    OFFICER SPICER, POLICE OFFICER LICIARDELLO, POLICE OFFICER
  REYNOLDS, POLICE OFFICER NORMAN, POLICE OFFICER SPEISER, POLICE
          OFFICER BETTS AND POLICE OFFICERS JOHN DOE #1-5


   37. All preceding paragraphs of this Complaint are fully incorporated by reference.

   38. As aforesaid, Defendants, jointly and/or severally, acting within the course and scope of

       their employment, under the color of state law, intentionally and maliciously deprived

       Plaintiffs, Dennis M. Sharpe, Maryann Sharpe and Dennis W. Sharpe of their rights,

       privileges and immunities under the Laws and Constitutions of the Commonwealth of

       Pennsylvania and the United States; in particular, the right to be free from unreasonable

       entries and searches; all of which actions violated the Plaintiffs' rights under the Fourth and

       Fourteenth Amendments to the Constitution of the United States, the Constitution of the

       Commonwealth of Pennsylvania, the Laws of the United States and of the Commonwealth

       of Pennsylvania, and were in violation of 42 U.S.C. § 1983.

   39. As aforesaid, all Defendants, jointly and/or severally, acting within the course and scope of

       their employment, under the color of State law, intentionally and illegally entered the home
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    of Plaintiffs, Dennis M. Sharpe and Maryann Sharp, on March 27, 2008, without just cause

    or provocation, or a valid warrant, all of which actions violated Plaintiffs' rights under the

    Fourth and Fourteenth Amendments to the Constitution of the United States, the

    Constitution of the Commonwealth of Pennsylvania, the laws of the United States and of the

    Commonwealth of Pennsylvania and are in violation of 42 U.S.C. § 1983.

40. As aforesaid, Defendants, jointly and/or severally, acting within the course and scope of

   their employment, under the color of State law, used their position of authority, illegally and

    improperly to enter the home of the Plaintiffs without a valid warrant, by the above

    described actions, all of which actions violated the Plaintiffs' rights under the Fourth and

    Fourteenth Amendments to the Constitution of the United States, the Constitution of the

    Commonwealth of Pennsylvania, the laws of the United States and of the Commonwealth of

    Pennsylvania and were in violation of 42 U.S.C. § 1983.

41. Defendants, jointly and/or severally, have been deliberately indifferent to the rights of the

    Plaintiffs to be free from illegal entry, search and seizure, which deliberate indifference

   violates the Plaintiffs' rights under the Fourth and Fourteenth Amendments of the

    Constitution of the United States, the Constitution of the Commonwealth of Pennsylvania,

   the laws of the United States and of the Commonwealth of Pennsylvania and are in violation

   of 42 U.S.C. § 1983.

42. As a direct and proximate result of the malicious, intentional and reckless actions of the

    Defendants, the Plaintiffs, Dennis M. Sharpe, Maryann Sharp and Dennis W. Sharpe,

   suffered injuries which are described above.
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   43. The above described actions of all Defendants, in their individual capacities, were so

       malicious, intentional and reckless and displayed such a reckless indifference to the

       Plaintiffs' rights and wellbeing, that the imposition of punitive damages is warranted.



       WHEREFORE, pursuant to 42 U.S.C. § 1983, Plaintiffs, Dennis M. Sharpe, Maryann

Sharp and Dennis W. Sharpe, demand compensatory and punitive damages against the Defendants,

Police Officer Spicer, Police Officer Liciardello, Police Officer Reynolds, Police Officer Norman,

Police Officer Speiser, Police Officer Betts and/or Police Officers John Doe #1-5, jointly and/or

severally, in their individual capacities, in an amount to fairly and adequately compensate the

Plaintiffs and punish and deter such conduct on the part of the Defendants, in addition to interest,

costs, attorney's fees and delay damages.


                             COL'NT III
                           FORFEITURE
  DENNIS M. SHARPE AND MARY ANN SHARPE V. POLICE OFFICER SPICER,
   POLICE OFFICER LICIARDELLO, POLICE OFFICER REYNOLDS, POLICE
 OFFICER NORMAN, POLICE OFFICER SPEISER, POLICE OFFICER BETTS AND
                   POLICE OFFICERS JOHN DOE #1-5


   44. All preceding paragraphs of this Complaint are fully incorporated by reference.

   45. As described above, the Defendants, Police Officer Spicer, Police Officer Liciardello,

       Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts

       and/or Police Officers John Doe #1-5, caused the Plaintiffs to be subjected to forfeiture

       proceedings intentionally, maliciously and without probable cause.

   46. All forfeiture proceedings were terminated in the Plaintiffs' favor.

   47. As a direct and proximate result of the malicious and intentional actions of Defendants, the

       Plaintiffs, Dennis M. Sharpe and Maryann Sharpe, suffered damages as described above.
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   48. The above-described actions of Defendants were so malicious and intentional and displayed

       such a reckless indifference to the Plaintiffs' rights and wellbeing that the imposition of

       punitive damages is warranted.

       WHEREFORE, Plaintiffs, Dennis M. Sharpe and Maryann Sharpe, demand

compensatory and punitive damages against Defendants, Police Officer Spicer, Police Officer

Liciardello, Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer

Betts and/or Police Officers John Doe # 1-5, jointly and/or severally, for the malicious prosecution,

in an amount to fairly and adequately compensate the Plaintiffs and punish and deter such

conduct on the part of the Defendants, in addition to interest, costs, attorney's fees and delay

damages.



                        COUNT V - 42 U.S.C. §1983
             CUSTOM, POLICY AND PRACTICE - MONELL CLAIM
 DENNIS M. SHARPE, MARY ANN SHARPE, AND DENNIS W. SHARPE vs. CITY OF
                           PHILADELPHIA


   49. All preceding paragraphs of this Complaint are fully incorporated by reference.

   50. The Plaintiffs, Dennis M. Sharpe, Maryann Sharpe, and Dennis W. Sharpe believe that the

       Defendant, City of Philadelphia, has adopted and maintained for many years a recognized

       and accepted policy, custom and/or practice of condoning and/or acquiescing in the use of

       excessive force, as well as, malicious prosecution, by its undercover narcotics officers; and

       systematically verbally and physically abusing individuals, and subjecting them to the same

       type of treatment to which the Plaintiffs were subjected. Said policy, custom and practices

       violates the Fourth and Fourteenth Amendments of the Constitution of the United States, the

       laws of the United States and of the Commonwealth of Pennsylvania.
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51. The Plaintiffs believe that the Defendant, City of Philadelphia, has adopted and maintained

     for many years, a recognized and accepted policy, custom, and practice of systematically

     failing to properly train, investigate, supervise and discipline undercover narcotics officers,

     including the individual Defendants Police Officer Spicer, Police Officer Liciardello, Police

     Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts

     and/or Police Officers John Doe #1-5, regarding constitutional restraints illegal entry and

     search, as well as, malicious prosecution, which policy and/or custom and/or practice

     violates the Fourth and Fourteenth Amendments of the Constitution of the United States, the

     Constitution of the Commonwealth of Pennsylvania, the laws of the United States and of the

     Commonwealth of Pennsylvania.

52. The Defendant, City of Philadelphia, has been deliberately indifferent to the rights of

     citizens of the City of Philadelphia to be free from illegal entry and search and malicious

     prosecution, which deliberate indifference violates the Plaintiffs rights under the Fourth and

     Fourteenth Amendments of the Constitution of the United States, the laws of the United

     States and of the Commonwealth of Pennsylvania.

53. The Plaintiffs believe and therefore avers, that at all material times, the Defendant, City of

     Philadelphia, knew or should have known of the above described policy, custom and

     practice of the Philadelphia Police Department, and that they deliberately, knowingly and

     intentionally failed to take measures to stop or limit the policy, custom and practice.

54. By failing to take action to stop or limit the policy and/or custom and/or practice by

     remaining deliberately indifferent to the systematic abuses which occurred in accordance

     with and as a direct and proximate result of the policy, Defendant, City of Philadelphia,

     condoned, acquiesced in, participated in, and perpetrated the policy in violation of the
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         Plaintiffs rights under the Fourth and Fourteenth Amendments of the Constitution of the

         United States, the Laws of the United States and of the Commonwealth of Pennsylvania.

         WHEREFORE, pursuant to 42 U.S.C. §§ 1983 and 1988, the Plaintiffs, Dennis M. Sharpe,

Maryann Sharpe and Dennis W. Sharpe, demand compensatory damages against the Defendant,

City of Philadelphia, in an amount to fairly compensate the Plaintiffs, and punish and deter such

conduct on the part of the Defendants, in addition to interest, costs, attorney's fees and delay

damages.



                                 COUNT VI
              INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
  DE1''NIS M. SHARPE, MARY ANN SHARPE AND DENNIS W. SHARPE vs. POLICE
     OFFICER SPICER, POLICE OFFICER LICIARDELLO, POLICE OFFICER
  REYNOLDS, POLICE OFFICER NORMAN, POLICE OFFICER SPEISER, POLICE
            OFFICER BETTS AND POLICE O:FFICERS JOHN DOE #1-5



   55. All preceding paragraphs of this Complaint are fully incorporated by reference.

   56. As described above, the Defendants, Police Officer Spicer, Police Officer Liciardello,

         Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts

         and/or Police Officers John Doe #1-5, caused the Plaintiffs severe emotional distress,

         anxiety, and humiliation and physical ailments related to same.

   57. As a direct and proximate result of the malicious, intentional and/or reckless actions of the

         Defendants, Police Officer Spicer, Police Officer Liciardello, Police Officer Reynolds,

         Police Officer Norman, Police Officer Speiser, Police Officer Betts and/or Police Officers

         John Doe #1-5, the Plaintiffs suffered emotional injuries.

   58. The above-described actions of the Defendants, Police Officer Spicer, Police Officer

         Liciardello, Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police
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       Officer Betts and/or Police Officers John Doe #1-5, were so malicious, intentional and

       reckless and displayed such a reckless and deliberate indifference to the Plaintiffs' rights and

       wellbeing, that the imposition of punitive damages is warranted.



       WHEREFORE, Plaintiffs, Dennis M. Sharpe, Maryann Sharpe and Dennis W. Sharpe

demand compensatory and punitive damages against the Defendants, Police Officer Spicer, Police

Officer Liciardello, Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police

Officer Betts and/or Police Officers John Doe# 1-5 , jointly and/or severally, for the common law

tort of intentional infliction of emotional distress, in an amount to fairly and adequately

compensate the Plaintiffs and punish and deter such conduct on the part of the Defendants, in

addition to interest, costs, attorney's fees and delay damages.



                                COUNT VII
                MALICIOUS PROSECUTION -COMMON LAW
      DENNIS W. SHARPE vs. POLICE OFFICER SPICER, POLICE OFFICER
   LICIARDELLO, POLICE OFFICER REYNOLDS, POLICE OFFICER NORMAN,
  POLICE OFFICER SPEISER, POLICE OFFICER BETTS AND POLICE OFFICERS
                             JOHN DOE #1-5




   59. All preceding paragraphs of this Complaint are fully incorporated by reference.

   60. As described above, the Defendants, Police Officer Spicer, Police Officer Liciardello,

       Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police Officer Betts

       and/or Police Officers John Doe #1-5, caused the Plaintiff, Dennis W. Sharpe, to be

       subjected to criminal proceedings intentionally, maliciously and without probable cause.

   61. All criminal proceedings were terminated in the Plaintiffs favor.
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      62. As a direct and proximate result of the malicious and intentional actions of Defendants, the

            Plaintiff, Dennis W. Sharpe, suffered damages as described above.

      63. The above-described actions of Defendants were so malicious and intentional and displayed

            such a reckless indifference to the Plaintiffs rights and wellbeing that the imposition of

            punitive damages is warranted.



            WHERE}'ORE, Plaintiffs, Dennis M. Sharpe, Maryann Sharpe and Dennis W. Sharpe

demand compensatory and punitive damages against the Defendants, Police Officer Spicer, Police

Officer Liciardello, Police Officer Reynolds, Police Officer Norman, Police Officer Speiser, Police

Officer Betts and/or Police Officers John Doe #1-5, jointly and/or severally, for the common law

tort of malicious prosecution, in an amount to fairly and adequately compensate the Plaintiffs and

punish and deter such conduct on the part of the Defendants, in addition to interest, costs,

attorney's fees and delay damages.




                                                   ABRAMSON           DENENBERG, P.C.


                                                   BY: \ ]
                                                     VAZ      A.E. ZERO
                                                      1315 WALNUT STRE
                                                      PHILADELPHIA, PA 9107
                                                      ATTORNEY OF PLAINTIFF
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                                         Case 2:19-cv-00983-PD          1 Filed 03/08/19 Page 16CV
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  provided by local rules of court. This form, approved                      dt     Conference of the Umted States m September 1974, 1s reqmred for the use of the Clerk of Court for the
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  purpose of m1t1atmg the clVll docket sheet. (SEE INST.                      S    NEXTPAGEOFTHISFORMJ

                                                                                                                 DEFENDANTSPOLICE O    ERS       ,
  I. (a) PLAINTIFFS
                                                                                                                 LICIARDELLO, REYNOLDS, NORMAN, SPEISER,
                                                                                                                 BETTS, JOHN DOE fl-5 AND CITY OF PHILA.
         (b)                                                                                                      County of Residence of First Listed Defendant
                                                                                                                                            (IN US PLAINTIFF CASES ONLY)
                                                                                                                  NOTE          IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                THE TRACT OF LAND INVOLVED

         (C) Attorneys (Firm Name, Address, and Telephone                                                          J\ltomeys (If Known)
        1315 WALNUT STREET, 12TH FLOOR
        PHILADELPHIA 1 PA.         19107                                                                                        UNKNOWN AT THIS TIME
        )215) 546-1345 EXT. 109
      II. BASIS OF JURISD CTION (Place an "X"inOneBoxOnly)                                           III. CITIZENSHIP OF PRI                                          L PARTIES (Place an "X" tn One BoxforP/amttf I
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::i    110 Insurance                       PERSONAL INJt:RY                 PERSONAL INJURY       Cl 625 Drug Related Seizure                                                                                                         ::J 375 False Clauns Act
::i    120Manne                                                         a   365 Personal Injury •          of Property 21 use 881                                                                                                     ' 376 Qm Tam (31 USC
::J    130 Miller Act                                                           Product L1J1b1hty a 690 Other                                                                                                                                 3729(a))
::i    140 Negotiable Instrument                                        :J 36 7 Health Caret                                                                                                                                        ::l 400 State Reapportionment
::i    I 50 Recovery of Overpayment                                             Pharmaceutical                                                                                                                                      ::J 410 Anlltrust
            & Enforcement of Judgment                                           Personal lnJury                                                                                                                                     Cl 430 Banks and Bankmg
a      I 5I Medicare Act                                                        Product Liabihty                                                                                                                                    Cl 450 Commerce
cr     I 52 Recovery of Defaulted                                       Cl 368 Asbestos Personal                                                                                                                                    Cl 460 Deportation
            Student Loans                                                        Injury Product                                                                                                                                     Cl 470 Racketeer Influenced and
            (Excludes Veterans)                                                  L1ab1ltty                                                                                                                                                   Corrupt Orgaruzat1ons
::J    I 53 Recovery of Overpayment                                        PERSONAL PROPERTY                                                                                                                                   . ::l 480 Consumer Credit
            of Veteran's Benefits                                       :J 370 Other Fraud                                                     . 861 HIA (1395ft) :                                                                 Cl 490 Cable/Sat TV
::J    I60 Stockholders' Smts                                           ::J 371 Truth m Lending            Act                                 Cl 862 Black Lung (92~)                                                               Cl 850 Secunt1es/Commodit1es/
::i    190 Other Contract                                               Cl 380 Other Personal     Cl 720 Labor/Management                      ' 863 DIWC/DIWW (405(g))                                                                       Exchange
::i    195 Contract Product L,ab1hty                                            Property Damage            Relations                           cl 864 SSID Title XVI                                                                 Cl 890 Other Statutory Actions
::i    196 Franchise                                                     Cl 385 Property Damage    Cl 740 Radway Labor Act                     ' 865 RSI (405(g))                                                                    Cl 891 Agncultural Acts
                                                                                Product L1ab11lty   · 751 Family and Medical                                                                                                         ::J 893 EnVJronmental Matters
                                                                                                                                                                                                                                     ::l 895 Freedom of Information
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a      210 Land Condemnation                                                 Habeas Corpus:                                                    Cl 870 Ta,ces (US. Plamt1ff                                                           Cl 896 Arbitration
 ::i   220 Foreclosure                                                  Cl 463 Aben Detainee                                                                     or Defendant)                                                       Cl 899 Adm1mstrattvc Procedure
 ::i   230 Rent Lease & Ejectment                                       ::l 5 IO Motions to Vacate                                             Cl 871 IRS- Third Party                                                                       Act/Review or Appeal of
 cl    240 Torts to Land                                                         Sentence                                                                        26 lJSC 7609                                                                Agency Dec1smn
 ::J   24 5 Tort Product L1ab1hty                                       ::i 530 General                                                                                                                                              Cl 950 Const1tut1onal1ty of
 a     290 All Other Real Property                                      Cl 535 Death Penalty            -.:,,tw,t;:[.:JMMIGRi\TIO , '·                                                                                                       State Statutes
                                                                            Otker:                      a 462 Naturahzatton Application
                                                                        Cl 540 Mandamus & Other         Cl 465 Other Immigration
                                                                        Cl 550 Civil Rights                    Actions
                                        a 448 Educalion                 Cl 555 Pnson Condttton
                                                                        a 560 C1v1l Dctamee.
                                                                                 Condlllonsof
                                                                                  Confinement
                      IN (Place an "X .. In One Box Only)
                                :J 2 Removed from             :J   3    Remanded from               Cl 4 Reinstated or           5 Transferred from                    O 6 Mult1d1stnct                                       0 8 Multtd1stnct
                                     State Court                        Appellate Court                  Reopened                  Another D1str1ct                        L1tigatton •                                           L1t1gation •
                                                                                                                                     s eel                                   Transfer                                              Direct File
                                               Cite the US. C1v1l Statute under which you arefilmg (Donotcitejurisdlcdonalsliltutaunlessdlversity'.2SU. S                                               • C.
                                                                                                                                                                                                                         ~§1331,1343
                   USE OF ACTION              1-,B,-r-ie..,.fd-e-sc_n_p...t 1 - o n - o - f - c - a u - s - e . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                  MALICIOUS PROSECUTION/MONELL
       VII. REQUESTED IN                        0 CHECK IF THIS IS A CLASS ACTION                             DEMANDS
            COMPLAINT:                              UNDER RULE 23, F R.Cv P                  EXCESS OF
       VIII. RELATED CASE(S)
                                                   (See ,nstrucuon.r)
             IF ANY                                                          rr:DGE


       DATE       MARCH 8, 2019

        FOR OFFICE USE ONLY

              RFCEIPT#                  AMOUNT                                      APPL YING !FP                                                                                        MAG HTIGF
                           Case 2:19-cv-00983-PD  Document
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                                                     STATES DISTRiiT   03/08/19 Page 17 of 18
                                                                     COl'RT
                                                       FOR THE EASTERN DISTRICT OF PENNSYL
                                                                                                                      PO.: :\
                                                                                                                          •                       19                  983 •
                                                                                         ;l~.
                                                                            DESIGNATION F,~KM
                                                                                                                                                   ..  ,
                      (to be used by cozmsel or pro se plaintiff to indicate the category of the casefor the purpose of assignment to the appropriate calendar)

Address of Plaintiff:             33 7 MCKE~ STR,EE'!', PHILA., PA.                                               19148
AddressofDefendant: 1515 ARCH STREET, 15TH FLOOR, PHILA., PA.                                                                                19102
Place of Accident, Incident or Transaction: PHILADELPHIA, PENNSYLVANIA




                                                                  Judge: PAUL S. DI~OND                                           ate Terminated:

Civil case are deemed related when Yes is answered to any of the following questions:

1.     Is is case related to property included in an earlier numbered suit pending or within one ye                                YesD                    No~
       pre usly terminated action in this court?

2.     Does thi se involve the same issue of fact or grow out of the same tr                                                       Yes~                    NoD
       pending or w1 · ne year previously terminated action in ·

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                              YesD                    No~
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights
       case filed by the same individual?
                                                                                                                                   YesD                    No   [iJ
I certify that, to my knowledge, the within
this court except as noted above.

                                                                                                                                     308846
                                                                                             I Pro Se Plaintiff                               Attorney 1.D # (if applicable)


CML: (Place a-./ in one category only)

A.             Federal Question Cases:                                                        B.    Diversity Jurisdiction Cases:        \

D       t.     Indemnity Contract, Marine Contract, and All Other Contracts                   D t.        Insurance Contract and Other Contracts
D      2.      FELA                                                                           D 2.        Airplane Personal Injury      ·
               Jones Act-Personal Injury                                                      D 3.        Assault, Defamation
               Antitrust                                                                      D 4.        Marine Personal Injury
               Patent                                                                         D 5.        Motor Vehicle Personal Injury
               Labor-Management Relations                                                     D 6.        Other Personal Injury (Please specify) - - - - - - - - -
               Civil Rights                                                                   D 1.        Products Liability
               Habeas Corpus                                                                  D s.        Products Liability - Asbestos
               Securities Act( s) Cases                                                       D 9.        All other Diversity Cases
               Social Security Review Cases                                                               (Please specify) - - - - - - - - - - - - - - - -
               All other Federal Question Cases
               (Please specify) - - - - - - - - - - - - - - - -



                                                                             ARBITRATION CERTIFICATION
                                                    (['ht effect of this certification ts to remove tht case from eltgibtlity for arbttration.)

               KEN A. E             ZEROUNIAN                . counsel of record or prose plamt1f:C do hereby certify

               Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best ofmy knowledge and belief, the damages recoverable in this civil action case
               exceed the sum of$150,000.00 exclusive of interest and costs:

               Relief other than monetary damages is sought.
                                                                                                                                                                               ·'
DATE.               March 8, 2019                                                                                                        308846                                \

                                                                                                                                              Attorney ID # (if applicable)

NOTE A tnal de novo will be a tnal by Jury only 1fthere has been comphan

c,•. 609 (512018)
                                                                                                                                             Ii AR ·- 8 201g· .
            Case 2:19-cv-00983-PD Document 1 Filed 03/08/19 Page 18 of 18
                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                      CASE MANAGEMENT TRACK DESIGNATION FORM

DENNIS M. SHARPE, ET AL


POLICE OFFICER MICHAELE.
                         V.   bl4         PD:                                  CIVIL ACTION

                                                                                     19            983'
SPICER, ET AL                                                                  NO.

  In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
  plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
  filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
  side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
  designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
  the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
  to which that defendant believes the case should be assigned.

  SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
  (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )

  (b) Social Security - Cases requesting review of a decision of the Secretary of Health
      and Human Services denying plaintiff Social Security Benefits.                                   ( )

  (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53 .2.      ( )
  (d) Asbestos - Cases involving claims for personal injury or property damage from  0




      exposure to asbestos.                                                                            ( )
                                                                                         \
  (e) Special Man~gement- Cases that do not fall into tracks (a) through (d) that        are
      commonly referred to as complex and that need special or intense managemeht by
      the court. (See reverse side of this form for a detailed explanation of special :,
      managemen~ cases.)                                                                \
  (f) Standard Management-Cases that do not fall into any one of the other tracks. ·


   3/8/19                                                              VAZKEN A.E. ZEROUNIAN, ESQ.
  Date                                                                     Attorney for PLAINTIFF
                                                                       vzerounia@adlawfinn.com

  Telephone                           FAX Number                           E-Mail Address


  (Civ. 660) 10/02




                                                                                             MAR - 8 2019
